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                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO

     NILDA RIVERA-CRUZ,

             Plaintiff,

                       v.                                                   CIVIL NO. 15-1454 (PAD)

     HEWITT ASSOCIATES CARIBE, INC.,
     et al.,

             Defendant.


                                               OPINION AND ORDER

Delgado-Hernández, District Judge.

          Plaintiff worked as a Customer Service Representative for Hewitt for some eight months

through successive temporary service contracts between July 2013 and April 2014, in a Call Center

in Puerto Rico, answering calls from mostly stateside English-speaking Home Depot employees,

some of whom, according to plaintiff, made openly derogatory comments about her accent while

she tried to assist them with benefits-related concerns. 1 The last of the contracts expired, the

employment relationship terminated, and plaintiff initiated the present action complaining of

hostile work environment, discrimination, retaliation, unjust discharge, and of other allegedly

injurious behavior under the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 621

et seq., Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.; Puerto Rico Law 100,



1 These comments included: “You have a really heavy accent that I can’t stand;” “I cannot stand your accent;” “I really hate your
accent, fuck yourself and transfer this call;” “You will have to excuse me but, with your accent all I think is booze;” “Your stupid
accent makes me sick;” and, “Do you really speak and understand English? I don’t think so, you sound stupid and unaware of my
situation.” Others, when told that Rivera was in Puerto Rico said, “You aliens are everywhere;” “Would your tiny Latin brain
understand my problem?;” “You people are used to the food stamps and do not understand how working people pay their bills.
You will never understand us. I want you to transfer this fucking phone call immediately to a USA based CSR, so I can explain
and they will understand my situation;” “Your stupid laws and procedures in Puerto Rico do not apply to us in the USA; transfer
this call immediately to a supervisor so I can tell them to try, within your limited capacity, to train you people from Puerto Rico
better for this kind of situation;” and, “No wonder you cannot help me, you people don’t have enough brain space to learn new
tricks.” Rivera was also allegedly asked by Home Depot employees if she was “on drugs or drunk like all of you.”
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P.R. Laws Ann. tit. 29 § 146; Puerto Rico Law 80, P.R. Laws Ann. tit. 29 § 185; Puerto Rico Law

379, P.R. Laws Ann. tit. 29 § 271; the Puerto Rico Civil Code, P.R. Laws Ann. tit. 31 § 5141; and

the Puerto Rico’s Constitution, Art. II, §§ 1, 3, 8, 16.

          Hewitt moved for summary judgment (Docket No. 107), which motion plaintiff opposed

(Docket No. 117). Hewitt replied (Docket No. 132) and plaintiff surreplied (Docket No. 132).

The court referred the motions to U.S. Magistrate Judge Bruce J. McGiverin (Docket No. 134),

who issued a Report and Recommendation (“R&R”), recommending that Hewitt’s motion be

granted in part and denied in part (Docket No. 137). Plaintiff did not file any objections to the

R&R, but Hewitt did so. For the reasons explained below, the R & R is adopted in part.

                                                   I.       REFERRAL

          A district court may refer a pending motion to a magistrate judge for a report and

recommendation. See, 28 U.S.C. § 636(b)(1)(B); Fed.R.Civ.P. 72(b); Loc. Civ. Rule 72. Any

party adversely affected by the report and recommendation may file written objections within

fourteen days of being served with the magistrate judge’s report. Loc. Civ. Rule 72(d). See 28

U.S.C. § 636(b)(1). A party that files a timely objection is entitled to a de novo determination of

“those portions of the report or specified proposed findings or recommendations to which specific

objection is made.” Ramos-Echevarria v. Pichis, Inc., 698 F.Supp.2d 262, 264 (D.P.R. 2010);

Sylva v. Culebra Dive Shop, 389 F.Supp.2d 189, 191-92 (D.P.R. 2005)(citing U.S. v. Raddatz,

447 U.S. 667, 673 (1980)).
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                                  II.       REPORT AND RECOMMENDATION

          The Magistrate Judge evaluated the voluminous material the parties submitted, making the

following recommendations.

          1.        Hostile Work Environment (National Origin).                  The Magistrate Judge

recommended that summary judgment be denied, finding there is a jury issue as to the comments

concerning plaintiff’s accent, and sufficient facts at this stage to support the conclusion that Hewitt

knew or should have known about the comments and failed to take immediate and corrective action

to deal with them (Docket No. 137 at pp. 7-19).

          2.        Discrimination (Age).               The Magistrate Judge recommended that summary

judgment be denied as to plaintiff’s discriminatory termination claim, concluding there is evidence

of pretext. Id. at pp. 22-30; 31-32.

          3.        Unjust Discharge (Law 80). The Magistrate Judge recommended that summary

judgment be denied; pointing out that Hewitt only questioned the size of the amount to be awarded

in the event plaintiff prevailed. Id. at p. 32.

          4.        Retaliation. The Magistrate Judge recommended that summary judgment be

granted, for lack of protected activity triggering statutory protection. Id. at pp. 19-22.

          5.        Hostile Work Environment (Age).                 The Magistrate Judge recommended

dismissal, for plaintiff failed to raise any arguments to defend her claims against summary

judgment. Id. at p. 30.

          6.        Law 379/ Civil Code/ Puerto Rico Constitution.               The Magistrate Judge

recommended dismissal. Id. at pp. 33-36. Plaintiff failed to respond to the motion for summary

judgment on these items. With respect to the Constitution, the R& R concluded that plaintiff could

not point to any material facts that support a finding that her zone of individual autonomy included
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a purse without any details as to what, if anything, made it private in the circumstances of this

case. Id. at p. 36.

                                             III.      THE OBJECTIONS

      A. Hostile Work Environment

          Hewitt contends plaintiff did not show that she was subject to severe and pervasive national

origin harassment, labeling the comments on plaintiff’s accent and national origin as “not

corroborated” by the co-workers that plaintiff identified as witnesses, and claims it cannot be liable

because it provided the employees with effective tools to deal with the harassment when it

happened (i.e. by giving Customer Service Representatives the ability to transfer the call, and

identify/stop any harassers before the call took place)(Docket No. 139 at pp. 5-6, 8-10). The most

serious objection involves the extent to which Hewitt may be liable for the comments made by

non-employees. 2

          Under Title VII and Law 100, harassment is actionable if it causes the plaintiff to

subjectively perceive the work environment to be hostile or abusive, that environment is, on an

objective basis, sufficiently severe or pervasive to alter the conditions of plaintiff’s employment,

and is inflicted because of the plaintiff’s status as a member of a protected class. See, Thompson

v. Coca-Cola Co., 522 F.3d 168, 179 (1st Cir. 2008)(describing elements of national origin hostile

work environment claim under Title VII); Godoy v. Maplehurst Bakeries, Inc., 747 F.Supp.2d 298,

317 (D.P.R. 2010)(hostile work environment claims brought under Title VII and Law 100 are

essentially the same). To properly assess the claim, courts look at the totality of circumstances,

including the severity and frequency of the conduct; whether it was physically threatening or


2The argument that plaintiff’s version has not been corroborated does not lead to summary judgment, but to a jury issue based on
credibility.
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humiliating or a mere offensive utterance; and whether it unreasonably interfered with the

employee’s work performance. See, Thompson, 522 F.3d at 180 (discussing elements of claim).

None of these factors is individually determinative of the inquiry. See, Ayala-Sepúlveda v.

Municipality of San Germán, 671 F.3d 24, 31 (1st Cir. 2012)(so holding).

          If the comments were made as plaintiff has proffered, a reasonable juror may find them

insulting, severe enough for a reasonable person in plaintiff’s position to find them abusive, as she

claims she did, to sufficiently alter the conditions of her employment. See, Fragante v. City and

County of Honolulu, 888 F.2d 591, 596 (9th Cir. 1989)(accent and national origin are obviously

inextricably intertwined). Hewitt argues that the comments: no more than reflect a person’s

preference to speak with someone located in the mainland United States; are even related to

plaintiff’s inability to perform her job duties by speaking English fluently to assist Home Depot’s

employees; and as such, do not amount to evidence of national origin discrimination (Docket No.

139 at pp. 5,7). The line between a merely unpleasant working environment and a hostile or

abusive one is sometimes difficult to locate. See, Hopkins v. Baltimore Gas and Elec. Co., 77 F.3d

745, 753 (4th Cir. 1996)(pointing out difficulty); Del Pilar Salgado v. Abbott Laboratories, 520

F.Supp.2d 279, 289 (D.P.R. 2007)(same)(quoting Baskerville v. Culligan Intern. Co., 50 F.3d 428,

430-431 (7th Cir. 1995)). To that end, however, the evidence must be construed in its totality, and

so viewed, may sustain a finding consistent with plaintiff’s version of the events.

          Hewitt posits plaintiff had onetime telephone interaction with each customer, a situation

differing from those where actionable harassment has been found in cases where the employee has

had continuous interaction with the same customers regularly (Docket No. 139 at pp. 3-4). Hostile

work environment claims typically involve repeated conduct, deriving from an ongoing series of

harassing incidents.          See, Noviello v. City of Boston, 398 F.3d 76, 84 (1st Cir. 2005)(so
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recognizing). The real impact of those incidents often depends on a constellation of surrounding

circumstances which are not fully captured by a simple recitation of the words used. See, Freeman

v. Dal-Tile Corp., 750 F.3d 413, 421-424 (4th Cir. 2014)(examining nonemployee harassment).

However, there is not support for the proposition that they require a particular set of regular

offenders.

          Hewitt states that plaintiff never complained (Docket No. 139 at pp. 4, 8-9). Nonetheless,

an employer “typically draws upon two sources of information in order to determine the risk of

prohibited harassment to an employee: information received directly from the employee, and the

employer’s knowledge of the specific context of is one working environment.” Erickson v.

Wisconsin Dept. of Corrections, 469 F.3d 600, 606 (7th Cir. 2006), and there is evidence that

Hewitt was or may have been aware of the problem because a supervisor (Livia Ramos) confirmed

to plaintiff that she had experienced “situations like that” when plaintiff disclosed the harassing

comments to her, and another supervisor (Arisabel Castro) sent an email to the Customer Service

Representatives for Home Depot, including plaintiff, that she had “heard a few calls where Home

Depot employees have [gone] into paranoid crazy mode” (Docket No. 137 at pp. 9-11, 16-17).

This evidence, showing that Hewitt believed that Home Depot employees were so acting, increases

the likelihood that plaintiff also experienced such “crazy” behavior.

          Hewitt posits that plaintiff and other Customer Service Representatives could have

transferred the call in a situation where they were not comfortable with the caller (Docket No. 139

at p. 10). Plaintiff, however, claims that she was instructed to calm down the caller if the call

started to escalate, albeit in at least one occasion transferred an offending call to a U.S.

Representative (Docket No. 101-2 at pp. 128-129, 140). Still, it is unclear how instructing an
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employee to try to calm down a caller uttering insulting language is an appropriate response to

protect the employee from that language.

          All in all, whether the comments were made, their content, character, frequency, Hewitt’s

knowledge of them, and plaintiff’s reaction present triable issues about whether plaintiff was

subjected to a hostile work environment. But trial issues on these aspects of the dispute do not end

the matter, for plaintiff must also provide a basis for holding Hewitt liable for the type of

harassment in question, so-called third-party harassment or harassment from an employer’s client,

customer, vendor or other third party directed at one or more of the employer’s employees. See,

Crowley v. L.L. Bean, Inc., 303 F.3d 387, 395 (1st Cir. 2002)(observing need of basis for employer

liability).

          In this Circuit, employers may be liable for third-party harassment under certain

circumstances, one of which being that they knew or should have known about the harassment and

yet failed to take prompt steps to stop it. See, Medina-Rivera v. MVM, Inc., 713 F.3d 132, 137

(1st Cir. 2013)(addressing nonemployee harassing behavior). 3 Those steps must be undertaken at

least to the extent that they are within the employer’s power, Galdamez v. Potter, 415 F.3d 1015,

1025 (9th Cir. 2005)(so observing), taking into account the employer’s “ability to persuade

potential harassers to refrain from unlawful conduct.” Little v. Windermere Relocation, Inc., 301

F.3d 958, 968 (9th Cir. 2018).

          The rationale for holding employers liable for nonemployee harassment in those settings

may warrant some elaboration in light of the reality that employers do not have the same agency




3The same standard applies to co-worker harassment, as nonemployee harassment is considered “more analogous [to that type of]
… harassment than by supervisors. Lockard v. Pizza Hut, Inc., 162 F.3d 1062, 1074 (10th Cir. 1998).
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relationship with nonemployees as they do with employees. So following the Equal Employment

Opportunity Commission’s Guidelines, 29 C.F.R. § 1604(e), the employer’s ability to address

nonemployee harassment has been measured with a view to how much the employer controls the

conditions of the work environment and could have expected to exert control over the

nonemployee’s conduct. 4 See, Lockard, 162 F.3d at 1073-1074 (an employer who condones or

tolerates the creation of a hostile work environment should be held liable regardless of whether

the environment was created by a co-employee or a nonemployee, since the employer ultimately

controls the conditions of the work environment); Lewis v. University of Connecticut, 2011 WL

5245423, *3,*4 (D.Conn. Nov. 2, 2011)(an employer should only be held liable where the

employer exerts some control over the nonemployee conduct or where the employer may have

some other legal responsibility over the nonemployee conduct). But see, Dunn v. Washington

County Hosp., 429 F.3d 689, 691 (7th Cir. 2005)(noting that ability to control the actor plays no

role, for employers have an arsenal of incentives and sanctions that can be applied to effect

conduct, and it is the use or failure to use these options that makes an employer responsible even

with respect to independent contractors, who in this context are no different than employees). 5

          In those circumstances, the employer cannot avoid liability for third-party harassment by

adopting a “see no evil, hear no evil” strategy. Watson v. Blue Circle, Inc., 324 F.3d 325, 334



4 The Guideline states in part that in reviewing non-employee harassment of employees in the workplace, the Commission will
consider the extent of the employer’s control and any other legal responsibility which the employer may have with respect to the
conduct of such nonemployees. Id. Even though it was issued in connection with sexual harassment, courts have recognized that
the same general standards apply to both sex-based and other types of hostile work environment claims. See, Lugo v. Shinseki,
2010 WL 1993065, * 9, n.10 (S.D. N.Y. May 19, 2010)(citing Torres v. Pisano, 116 F.3d 620, 624 (2d Cir. 1997))(so recognizing).
5 To illustrate the point, the Seventh Circuit presented a hypothetical: a patient in a Hospital kept a macaw in his room, the bird bit
and scratched women but not men, and the Hospital did nothing. The Seventh Circuit observed that the Hospital would be
responsible for the decision to expose women to the working conditions affected by the macaw, even though the bird was not an
employee, and could not be controlled by reasoning or sanctions, for was the Hospital’s responsibility to protect its female
employees by excluding the offending bird from its premises. Id. at 691. Yet in the hypothetical, the Hospital controlled the
location and could presumably take action to exclude the offender from the premises.
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(11th Cir. 2003). Therefore, the employer would be liable for the prohibited harassment by

ratifying or acquiescing to it. See, Rodríguez-Hernández v. Miranda-Vélez, 132 F.3d 848, 854

(1st Cir. 1998)(so noting in connection with Title VII, Law 100 and Puerto Rico’s sexual

harassment statute). Thus, compare Little v. Windermere Relocation, Inc., 301 F.3d 958, 968-969

(9th Cir. 2002)(construing facts in the light most favorable to plaintiff, jury could find that

employer acquiesced or ratified nonemployee harassment by failing to take inmmediate corrective

action), and Freeman, 750 F.3d at 424 (imposing liability for nonemployee harassment where

employer failed to take any effective action to halt the harassment), with Folkerson v. Circus Circus

Enterprises, Inc., 107 F.3d 754, 756 (9th Cir. 1997)(employer did not ratify or acquiesced to

nonemployee harassment, taking reasonable steps to ensure employee’s safety) and Whiting v.

Labat-Anderson, Inc., 926 F.Supp.2d 106, 117 (D.D.C. 2013)(no liability for nonemployee

harassment due to prompt corrective action).

          These principles are fact-driven. See, Dallan F. Flake, “Employer Liability for Non-

Employee Discrimination,” 58 B.C.L.Rev. 1169, 1200 (2017)(noting fact-specific nature of

court’s analysis of nonemployee harassment); Francis J. Mootz III, “Insuring Employer Liability

for Hostile Work Environment Claims: How Changes in Discrimination May Affect The Growing

Market for Employment-Related Practices Liability Insurance,” 21 W.New.Eng.L.Rev. 369, 376

(1999)(observing fact-driven standard developed to evaluate employer liability for hostile work

environment). In drawing the line to assess potential liability, see, Crist v. Focus Homes, Inc., 122

F.3d 1107, 1111-1112 (8th Cir. 1997)(holding that employer, a for-profit residential home for

individuals with developmental disabilities, could be liable for the sexual assault committed by a

resident since the employer “clearly controlled the environment in which [the resident] resided,

and it had the ability to alter those conditions to a substantial degree”) and Kudatzky v. Galbreath
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Co., 1997 WL 598586, *5 (S.D. N.Y. Sept. 23, 1997)(employer could be liable for client’s

harassing conduct since much like a casino owner or the employer of an independent contractor,

employer could have deterred his client) in contrast to Viruet v. Citizen Advice Bureau, 2002 WL

1880731, * 17 (S.D. N.Y. Aug. 15, 2002)(finding that employer could not be liable for conduct of

non-employee client as employer had little or no control over client’s language), and Lewis, 2011

WL 5245423 at *5 (dismissing complaint under Fed. R. Civ. P. 12(b)(6) in part because plaintiff

failed to plead any facts regarding the nature of the relationship between his employer and the

entity to which employer provided services and whose employees harassed him which would

suggest that employer had the authority or ability to take appropriate action with respect to the

harassment).

          Viewing the record in light most favorable to plaintiff, Hewitt has not provided sufficient

evidence to evaluate how these variables interacted here to justify the result it has requested, as

the record is silent on the nature of the contractual relationship it had with Home Depot, and the

authority or ability within that relationship to take appropriate action. In consequence, the motion

for summary judgment must be denied as to the hostile work environment claims. See, Rivera-

Ruiz v. González-Rivera, 983 F.2d 332, 334-335 (1st Cir. 1993)(denying motion for summary

judgment in employment discrimination case where record was unclear); Maine v. Kerramerican.

Inc., 480 F.Supp.2d 357, 359 n.3, 364-365 (D. Maine 2007)(same). The denial applies to both

Title VII and Law 100. See, Godoy, 747 F.Supp.2d at 298 (denying dismissal request with respect

to Title VII and Law 100 hostile work environment claims).

     B. Age Discrimination

          Plaintiff complains of age discrimination under the ADEA and Law 100. He lacks direct

evidence to support the claim. So applying the prima facie burden shifting framework, the
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Magistrate Judge found that plaintiff made out a prima facie case and that Hewitt rebutted it with

evidence of performance problems (Docket No. 137 at p. 28). Yet he concluded that plaintiff had

put forward sufficient evidence for a jury to find that those problems were relied on as a pretext to

discriminate against her because of her age (id. at pp. 28-30), a conclusion with which Hewitt

disagrees (Docket No. 139).

          1. ADEA

          Under the ADEA, an employer may “not discharge ... or otherwise discriminate against

any individual with respect to [her] compensation, terms, conditions, or privileges of employment,

because of [her] age.” 29 U.S.C. § 623(a)(1). A plaintiff asserting a claim under the ADEA has the

burden of establishing “that age was the ‘but-for’ cause of the employer's adverse action.” See,

Acevedo-Parrilla v. Novartis Ex-Lax, Inc., 696 F.3d 128, 138 (1st Cir. 2012)(quoting Gross v.

FBL Financial Services, Inc., 557 U.S. 167, 177 (2009)). Differently stated, the plaintiff’s age

must have been the determinative factor as opposed to merely a motivating factor in the employer’s

decision. Gross, 557 U.S. at 168.

          Where, as here, plaintiff does not have direct evidence of discrimination, courts evaluate

this claim under the burden-shifting framework drawn from McDonnell Douglas Corp. v. Green,

411 U.S. 792 (1973). Consistent with this framework, plaintiff must establish that she (1) was at

least 40 years old at the time of the adverse action; (2) met the employer’s legitimate expectations;

(3) suffered an adverse employment action; and (4) the employer filed the position, thereby

showing a continuing need for the services that she had been rendering. Adamson v. Walgreens

Co., 750 F.3d 73, 78 (1st Cir. 2014).

          If the plaintiff succeeds in establishing a prima facie case, the presumption arises that the

employer unlawfully discriminated against plaintiff, shifting to the employer the burden of
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articulating a legitimate, nondiscriminatory reason for the adverse employment action. Benoit v.

Technical Mfg. Corp., 331 F.3d 166, 174 (1st Cir. 2003); Champagne v. Servistar Corp., 138 F.3d

7, 12 (1st Cir. 1998). If the defendant is successful in satisfying its burden, plaintiff no longer can

rest on the initial inference of discrimination. Bennett v. Saint-Gobain Corp., 507 F.3d 23, 31 (1st

Cir. 2007). The inference raised by the prima facie case dissolves, and the last transfer of burdens

occurs. Mesnick v. General Elec. Co., 950 F.2d 816, 823 (1st Cir. 1991), cert. denied 504 U.S.

985 (1992). In that case, the burden shifts back to the plaintiff to show that the reason proffered

was a pretext concealing unlawful discrimination of the type alleged. Rodríguez-Cuervos v. Wal-

Mart Stores, Inc., 181 F.3d 15, 19 (1st Cir. 1999). At this stage, the plaintiff’s burden of producing

evidence to rebut the employer’s stated reason for its employment action merges with the ultimate

burden of persuading the court that she has been the victim of intentional discrimination. Feliciano

de la Cruz v. El Conquistador Resort and Country Club, 218 F.3d 1, 6 (1st Cir. 2000); Vélez v.

Thermo King de Puerto Rico, Inc., 585 F.3d 441, 447 (1st Cir. 2009).

          The court assumes that plaintiff established a prima facie case of discrimination, which

Hewitt rebutted, articulating and producing a lawful reason for its decision: plaintiff’s performance

problems, a sub-par performance that never improved despite continuing evaluations and coaching

packages. See, García v. Bristol-Myers Squibb Co., 535 F.3d 23, 31 (1st Cir. 2008)(employer met

its burden of providing a legitimate non-discriminatory reason by stating that employee was

discharged due to her deficient performance). As a result, to defeat summary judgment plaintiff

must show that the employer’s given reason was pretextual and that the record would permit a

reasonable jury to infer that the real reason was discriminatory animus based on plaintiff’s age.

See, Meléndez v. Autogermana, Inc., 622 F.3d 46, 50 (1st Cir. 2010)(articulating and applying
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test). On this aspect, the court reaches a different conclusion than the one subscribed to in the

R&R.

          Pretext “means something worse than a business error.” Ronda-Pérez v. Banco Bilbao

Vizcaya Argentaria-Puerto Rico, 404 F.3d 42, 45 (1st Cir.2005). It means deceit – a lie – a made-

up story to cover one’s tracks. See, Collazo-Rosado v. University of Puerto Rico, 765 F.3d 86, 92

(1st Cir.2014)(so observing). To that end, pretext analysis is more demanding than the assessment

of whether a prima facie case has been established, Mariani-Colón v. Department of Homeland

Sec. ex. rel. Chertoff, 511 F.3d 216, 222 (1st Cir. 2007) (so noting), moving the inquiry to a new

level of specificity. Kosereis v. Rhode Island, 331 F.3d 207, 213 (1st Cir. 2003)(applying

formulation). It directs the court’s focus to the perception of the employer, to determine whether

the decisionmaker believed the stated reason is real. See, Ronda-Pérez, 404 F.3d at 45 (discussing

topic). This can be demonstrated in a variety of ways, such as showing that the employer proffered

different and arguably inconsistent explanations for its decision, unless the record reveals that the

real motive was an unstated nondiscriminatory reason, Collazo-Rosado, 765 F.3d at 93;

comparative evidence that plaintiff was treated less favorably than similarly situated employees;

Kosereis, 331 F.3d at 213; and sufficiently probative discriminatory comments, González, 304

F.3d at 69-72.

          From the documents filed, plaintiff did not seem to be meeting Hewitt’s 85% quality score,

scoring 81%, 75%, 76.5%, 82.5%, and 75%, with one 85.2% (Docket No. 105, Exh. 18 - bates

stamped 131). She was counseled that she did not probe to identify the purpose of a call; enrolled

a customer without clarifying deductions were per pay period rather than per month; and spoke

about credits but seemed she said $45 instead of $35, (Exh. 19A - bates stamped 134). She

mentioned the timing to receive ID cards, but not the timing for carriers to update nor COE
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(although the meaning of COE is unclear). Id. Similarly, she did not confirm contact information,

(id.); failed to validate the customer’s concern (Exh. 19B - bates stamped 137); and did not use

verbal cues directly (id.).

          Additionally, plaintiff did not conduct proper research nor exhausted her sources before

transferring the customer over to the plan carrier (id. - bates stamped 38); did not offer insurance

at the beginning of the call; and failed to address the customer’s issues properly, instead of making

sure to convey an understanding of the customer’s request, assuming ownership of the matter by

setting the proper expectations, and taking a brief pause to ask the customer if he had any question

so far (Exh. 19C - bates stamped 145). Further, she provided incorrect information, telling a

customer that once payment for April was posted no deductions would be applied to his paycheck

after the return to work date (id.); did not validate the customer’s concern (Exh. 19F - bates

stamped 157); provided information that was neither tailored nor delivered in a manner that was

easy for the customer to understand, and did not convey a proper understanding of the customer’s

matter (Exh. 19F - bates stamped 158). She did not structure information logically (id. bates

stamped 159); did not verify contact information (Exh. 19G - bates stamped 72); and failed to

advise the customer of carrier updates. Id. In other occasions, she did not personalize closing

(Exh. 19J - bates stamped 79); and transferred to YSA (although its meaning is unclear), even

though the Call Center only transferred calls to YSA if the customer was requesting TR status (id.

bates stamped 80). Moreover, she did not advise customer that if she cancelled benefit, she would

not be able to make changes within a 12-month rolling period (Exh. 19K - bates stamped 87); and

did not complete the walk-through process correctly (Exh. 19M - bates stamped 94).

          Plaintiff argues that performance issues were a pretext to terminate her because the first

of her employment contracts ran from July 2014 through January 29, 2014; she was given a second
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contract with an increase in compensation from $8.00 per hour to $10.50 per hour, from January

29, 2014 to March 31, 2014; and a third contract, from April 1, 2014 until April 30, 2014 (though

with no increase in compensation rate), which was not renewed (Docket No. 117 at p. 21). She

states that until March 25, 2014 she never received a “coaching package,” “evaluation,” or

“personalized care guide,” a proposition with which Hewitt takes issue, further pointing out that

on April 1, 2014, Team Leader Livia Ramos informed plaintiff that she would be placed on a

personal improvement plan (Docket No. 99 at ¶ Y), albeit plaintiff alleges the plan was never put

in place (Docket No. 116-1 while denying ¶ Y); see also Docket No. 137 at p. 6. Hewitt, however,

asserts that Trainer Angel Rivera conducted three coaching sessions with plaintiff in April 2014,

and that plaintiff’s performance did not improve (Docket No. 99 at ¶ CC and Docket No. 137 at

p. 6). Two days prior to the termination, however, one supervisor told a large group of employees

in a meeting that he wanted “young, new blood,” “young dynamic individuals” (Docket No. 137

at p. 30)(citing PSUF ¶ 25). Viewing the record in plaintiff’s favor, she cannot show that the

reasons advanced by Hewitt for her termination were a pretext to conceal age animus, or even

more, that age was the “but for” reason behind plaintiff’s termination.

          First, evidence of overall positive employment reviews may be used to establish pretext

when an employee is later terminated for poor performance. See, García-García v. Costco

Wholesale Corporation, 878 F.3d 411, 421 (1st Cir. 2017)(so acknowledging)(citing Acevedo-

Parrilla, 696 F.3d at 140-143, where plaintiff terminated for failing to comply with the duties and

objectives of the position even though evidence showed that he had successfully complied with

performance improvement plan, was rated as “fully met expectations,” and received a bonus of

$13,166.00 for his performance, all seemingly incongruous facts that might lead a reasonable juror

to disbelieve that decision to terminate plaintiff was based purely on poor performance record).
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However, that was not the situation here. 6 If contract renewals on January 29, 2014 and March

31, 2014 means that plaintiff’s performance was satisfactory then, in the present context the past

performance do not call into question subsequent criticism. See, Leffel v. Valley Financial

Services, 113 F.3d 787, 795 (7th Cir. 1997)(so recognizing). Thus, the prior assessments do not

render the most recent negative appraisal of the employee’s performance inherently untrustworthy.

See, Kerns v. Capita Graphics, Inc., 178 F.3d 1011, 1018 (8th Cir. 1999)(articulating and applying

principle).

          Second, plaintiff has not disputed the performance problems, of which she was aware. See,

La Montagne v. American Convenience Products, Inc., 750 F.2d 1405, 1414-1415 (7th Cir.

1984)(dismissing age discrimination claim in part because plaintiff failed to show that defendant’s

reasons for termination lacked a basis in fact); Kerns, 178 F.3d at 1018 (plaintiff did not dispute

that she made errors at various points or that her actions produced undesirable consequences for

the company). And there is no evidence that other, similarly situated employees were treated more

favorably than plaintiff was. See, García-García, 878 F.3d at 424-425 (dismissing discrimination

claim in part because plaintiff failed to show that other similarly situated employees were treated

differently). Compare with Acevedo-Parrilla, 696 F.3d at 144-145 (pretextual nature of proffered

explanation found where similarly situated younger employee was not reprimanded or disciplined

for incidents similar to the problems that led to plaintiff’s termination). 7




6 Compare with García-García, 878 Fed. 3d at 421 (referring to plaintiff’s history of frequent promotions, high ratings on quality
inspections and high monthly average sales, albeit in circumstances of the case, that history was insufficient to show pretext).
7 See also, Benoit, 331 F.3d at 174 (rejecting discrimination claims of plaintiff unable to show that other similarly situated
employees outside of the protected group were treated differently); Zapata-Matos v. Reckitt & Colman, Inc., 277 F.3d at 40, 47-48
(summary judgment dismissing discrimination claim of plaintiff whose employment terminated but could not show that employer
treated him differently than it treated other employees).
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          Third, the “young blood, new blood” comment is not probative of age animus. While

evidence of age related comments may be sufficient to support an inference of pretext, the lack of

a direct connection between the words and the employment action significantly weakens their

probative value. See, Meléndez, 622 F.3d at 54 (so observing). The record reflects no such

connection. See, Gagne v. Northwestern Nat. Ins. Co., 881 F.2d 309, 314 (6th Cir. 1989)

(plaintiff’s immediate supervisor’s comment that he “needed younger blood” held insufficient to

show pretext supporting a finding of age discrimination, as it was isolated, was made at a meeting

attended by a number of employees, was not directed at plaintiff, and did not negate plaintiff’s

substandard performance); Suárez v. Pueblo Intern., Inc., 229 F.3d 49, 56 (1st Cir. 2000)(comment

that company needed “new blood,” that plaintiff’s proposals were “tired,” and that another

employee “looked old” found too innocuous to transform managerial decisions into something

more invidious): Meléndez, 622 F.3d at 55 (even if ageist, remarks were insufficient to overcome

the evidence that employer proffered to show plaintiff was dismissed due to poor work

performance and thus failed to raise the inference that the real reason for the termination was

plaintiff’s age). At the end of the day, the record does not add up to the slightest suggestion of an

effort to deceive or cover up a hidden motive, and fails to indicate that there is a viable issue of

age-related discrimination to justify a trial under the ADEA. See, Ronda-Pérez, 404 F.3d at 48

(dismissing age discrimination claim under similar circumstances).

          2. Law 100

          Like the ADEA, Law 100 provides a cause of action in favor of persons who suffer

discrimination in their employment because of their age. See, P.R. Laws Ann. tit. 29 § 146

(prohibiting discrimination in protected categories including age, and laying out remedies for

violation).      In the absence of direct evidence of discrimination, a plaintiff may rely on
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circumstantial evidence through the “just cause” framework set in Article 3 of the statute. 8 At its

core, the framework consists of three stages: (1) a prima facie case; (2) burden shifting; and (3)

ultimate demonstration of discrimination. See, Caraballo-Cecilio v. Marina PDR Tallyman LLC,

2016 WL 6068117, *2 (D.P.R. Oct. 13, 2016)(describing framework).

          A plaintiff establishes a prima facie case by demonstrating that: (1) she suffered an adverse

employment action; (2) the adverse action lacked just cause; and (3) there exists some basic fact

substantiating the type of discrimination alleged. See, Rodríguez v. Executive Airlines, Inc., 180

F.Supp.3d 129, 132-133 (D.P.R. 2016)(setting forth elements of prima facie case under Law 100);

Varela Teron v. Banco Santander de Puerto Rico, 257 F.Supp.2d 454, 466 (D.P.R.2003)(same). 9

A prima facie showing activates that the plaintiff has been the victim of discrimination. See,

Ramos v. Davis & Geck, Inc., 167 F.3d 727 (1st Cir. 1999)(pointing out effect of presumption);

García-García, 878 F.3d at 423 (same).

          The employer may rebut the presumption proving legitimate, non-discriminatory grounds

for the challenged action. See, De Arteaga v. Pall Ultrafine Filtration Corp., 862 F.2d 940, 941

(1st Cir. 1988)(once activated, the presumption requires employer to prove that the action in

question was not discriminatory); Ramos-Santiago v. WHM Carib, LLC, 2017 WL 1025784, *6

(D.P.R. March 14, 2017)(citing López Fantauzzi v. 100% Natural, 181 D.P.R. 92, 123

(2011)(explaining, among other things, how employer may rebut the presumption). The burden is



8 Article 3 provides that the acts mentioned in Articles 1 and 2 (i.e. discharge, layoff, and failure to hire), shall be presumed to have
been committed in violation of Law No. 100 “whenever the same shall have been performed without just cause.” P.R. Laws Ann.
tit. 29 §§ 146, 148. The presumption is of a “controvertible character.” Id. at Section 148.
9 See also, Rodríguez-Torres v. Caribbean Forms Manufacturer, Inc., 399 F.3d 52, 62 (1st Cir. 2005)(validating jury instruction to
the effect that, for burden of proof in a Law No. 100 claim to shift to employer, plaintiff must prove that: she was in a protected
class, was fired, and the termination was unjustified); Menzel v. Western Auto Supply Co., 848 F.2d 327, 331 (1st Cir.
1988)(pointing out that “[i]f plaintiff fails to show that there was no just cause, the presumption of discrimination is not activated”).
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one of production and persuasion. See, García-García, 878 F.3d at 423 (so noting). Should the

employer carry this burden, the presumption of discrimination disappears, shifting the burden of

persuasion back to the employee to show, without the benefit of the presumption, that the action

was motivated by prohibited discrimination (in other words, that the reasons proffered were

pretextual). Id.

          As it did under the ADEA, the court assumes that plaintiff made out a prima facie case of

discrimination under Law 100. Hewitt articulated – and produced – evidence of legitimate

nondiscriminatory reasons for its decision. Since the Law 100 plaintiff is in the same situation as

an ADEA plaintiff after the defendant has articulated a legitimate, nondiscriminatory reason for

its actions,” Álvarez-Fonseca v. Pepsi Cola of Puerto Rico Bottling Co., 152 F.3d 17, 28 (1st Cir.

1998), and plaintiff failed to show a genuine issue of material fact exists as to pretext under the

ADEA, she cannot prove it as to Law 100 either. The absence of actionable pretext results in

dismissal as a matter of law of both the ADEA and Law 100 claims. See, Velázquez-Fernández

v. NCE Foods, Inc., 476 F.3d 6, 11 (1st Cir. 2007)(summary judgment dismissing ADEA and Law

No. 100 claims for lack of evidence to infer that employer’s justification was a pretext for

impermissible age discrimination); Morales-Guadalupe v. Oriental Bank and Trust, 2018 WL

1116544, *8 (D.P.R. February 26, 2018)(same).

     C. Law 80

          Law 80 requires the employer to pay a statutory indemnity to employees hired for

undefined term who are dismissed without just cause. See, Article 1 of Law 80, P.R. Laws Ann.

tit. 29 § 185a (stating payment requirement); García-García, 878 F.3d at 419-420 (describing

statute). In its objections to the R& R, Hewitt states that the undisputed evidence demonstrates

that plaintiff’s termination was based on her poor job performance, which constitutes “just cause”
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under Law 80 and for the same reason, that plaintiff’s action under that statute should be dismissed

(Docket No. 139 at p. 13).

          Hewitt’s sole argument in the motion for summary judgment regarding the Law 80 claim

was that “assuming arguendo that plaintiff can establish that she was unjustly terminated in

violation of [Law 80}, her recovery would be limited” (Docket No. 137 at p. 32). And the law is

clear that when a dispositive motion is heard before a magistrate judge, the movant must make all

her arguments then and there, and cannot later add new arguments at subsequent stages of the

proceeding as objection to the magistrate judge’s proposed findings and conclusions. See, Cherox

Inc. v. Tip Top Construction Corp., 175 F.Supp.3d 1, 3 (D.P.R. 2016)(refusing to review, as

unpreserved, argument not seasonably presented to the magistrate judge). Given that Hewitt did

raise the just cause issue in its answer (Docket No. 17 at ¶¶ 17, 20), this ruling does not preclude

it from adequately raising the argument at a later stage consistently with the Case Management

Order.

     D. Remaining Claims

          The remaining claims involve retaliation, Law 379, the Civil Code, the Puerto Rico

Constitution, and Law 80. The court agrees with, and adopts the Magistrate Judge’s analysis,

conclusions and recommendations on these claims. 10




10Plaintiff failed to respond to the motion for summary judgment on these items. The motion persuasively argues that dismissal is
appropriate as a matter of law as to them. Likewise, the court agrees with Magistrate Judge’s reasoning respecting the constitutional
claim, and why it should be dismissed.
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                                                   IV. CONCLUSION

          Having made an independent, de novo, examination of the entire record, the Magistrate

Judge’s findings and conclusions are hereby ADOPTED in part and REJECTED in part as follows:

     1. The request for summary judgment on plaintiff’s hostile work environment claim based on

          national origin is DENIED under Title VII and Law 100;

     2. The request for summary judgment with respect to plaintiff’s discrimination claim under

          ADEA and Law 100 is GRANTED;

     3. The request for summary judgment on plaintiff’s hostile work environment claim based on

          age is GRANTED.

     4. The request for summary judgment as to plaintiff’s retaliation claim is GRANTED;

     5. The request for summary judgment regarding plaintiff’s claims under Law 379, the Civil

          Code and the Puerto Rico Constitution is GRANTED; and

     6. The request for summary judgment on plaintiff’s Law 80 claim is DENIED.

          In view of the foregoing, only the national-origin based hostile work environment and Law

80 claims remain. An Order for the parties to submit a Joint Proposed Pretrial Conference Report

will follow.

          SO ORDERED.

          In San Juan, Puerto Rico, this 30th day of March, 2018.

                                                            s/Pedro A. Delgado-Hernández
                                                            PEDRO A. DELGADO-HERNÁNDEZ
                                                            United States District Judge
